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 2                                       Signed and Filed: October 19, 2004

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 4                                                 ________________________________________
                                                               DENNIS MONTALI
 5                                                           U.S. Bankruptcy Judge
                                     ________________________________________
 6                        UNITED STATES BANKRUPTCY COURT
 7                        NORTHERN DISTRICT OF CALIFORNIA
 8
     In re                              ) Case No. 01-30923-DM
 9                                      )
     PACIFIC GAS & ELECTRIC COMPANY,    ) Chapter 11
10                                      )
                              Debtor.   )
11   ___________________________________)
12
                      MEMORANDUM DECISION REGARDING CLAIM OF
13                MODESTO IRRIGATION DISTRICT (CLAIM NO. 011027)
14           On April 1, 2004, Pacific Gas and Electric Company (“Debtor”)
15   filed an objection to the claim of Modesto Irrigation District
16   (“MID”).    Debtor did not request disallowance of MID’s entire
17   claim; rather, it objected to two components of the claim:                     MID’s
18   claim for negative CTCs1 and its New Hogan Power Plant claims.
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20         When the California legislature deregulated the energy
     market, it created a mechanism to permit Debtor and other electric
21   utilities to recover costs of energy generation-related assets
     that had been included in Debtor’s rates but might not have been
22   recoverable in a competitive market. Specifically, it authorized
     Debtor to recover “Competition Transition Charges” or “CTCs” from
23   all customers, whether or not they remained as customers of
     Debtor. CTCs were calculated by deducting the cost of power from
24   the generation rate. When the costs of power exceeded the
     generation rate, some departed customers claimed that they should
25   be able to recover the difference between the rate and costs as
     “negative CTCs,” even though there is no statutory or regulatory
26   authority for the recovery of negative CTCs. In an effort to
     attract customers of Debtor, MID agreed to pay the CTC charges of
27   customers that switched to MID as a power provider. MID now
     asserts that to the extent its customers would be entitled to
28   recover negative CTCs, it also has a claim against Debtor for such

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Case: 01-30923    Doc# 15850   Filed: 10/19/04     Entered: 10/21/04 13:10:04   Page 1
                                        of 12
 1   MID has withdrawn its New Hogan Power Plant claims.                   With respect
 2   to the negative CTC element of MID’s claim, Debtor contended that
 3   such negative CTC claims have no legal basis and that, even if
 4   they did, MID has no standing to assert them.2                 Debtor noted that
 5   the contracts between MID and its customers did not assign to MID
 6   any right to claim negative CTCs, and thus MID does not have
 7   standing to assert such claims.
 8        MID responds that, even though its agreements with its
 9   customers do not explicitly reflect any transfer of negative CTC
10   claims (if any) from the customers, it should be permitted to
11   present parol evidence that the parties intended those agreements
12   to assign such claims.        Specifically, MID states that it will
13   present declarations from customers indicating that they intended
14   to assign their rights even though the contracts merely address
15   MID’s assumption of their liabilities.
16        On August 16, 2004, this court entered an order requesting
17   further briefing from Debtor and MID on the issue of whether the
18   parol evidence rule precludes MID from introducing evidence of
19   terms which were not incorporated in its contracts with its
20   customers.     MID filed its supplemental brief on September 3, 2004,
21   and Debtor filed its opposition to MID’s supplemental brief on
22   September 15, 2004.       A continued status conference on Debtor’s
23   objection to MID’s claim is currently set for November 8, 2004.
24   For the reasons set forth below, the court believes that the parol
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26   negative CTCs.
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27         Because the court agrees with Debtor that MID has no
     standing to assert the negative CTC claims, it will not address
28   whether such claims are legally viable.

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Case: 01-30923    Doc# 15850   Filed: 10/19/04     Entered: 10/21/04 13:10:04   Page 2
                                        of 12
 1   evidence rule precludes admission of MID’s proffered evidence and
 2   that Debtor’s objection to MID’s claim for negative CTCs should be
 3   sustained.
 4                                   I.    DISCUSSION3
 5   A.   The Parol Evidence Rule
 6        “Under California law, a written contract presumptively
 7   supersedes all prior or contemporaneous oral agreements concerning
 8   the subject matter of the written contract.”                 Ankeny v. Meyer (In
 9   re Ankeny), 184 B.R. 64, 70 (9th Cir. BAP 1995), citing Cal. Civ.
10   Code § 1625;4 Cal. Civ. Proc. Code § 1856(a) (“CCP § 1856").5                       The
11   parol evidence rule “generally prohibits the introduction of any
12   extrinsic evidence, whether oral or written, to vary, alter or add
13   to the terms of an integrated written instrument.”                   Casa Herrera,
14   Inc. v. Beydoun, 32 Cal.4th 336, 343, 83 P.3d 497, 502, 9
15   Cal.Rptr.3d 97, 102 (2004).
16        “Although the rule results in the exclusion of evidence, it
17   ‘is not a rule of evidence but is one of substantive law.’”                     Id.
18   (emphasis in original and citations omitted).                  “Unlike traditional
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           The discussion in this memorandum decision constitutes the
21   court’s findings of fact and conclusions of law under Federal Rule
     of Bankruptcy Procedure 7052(a).
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           Section 1625 of the California Civil Code provides that the
23   “execution of a contract in writing, whether the law requires it
     to be written or not, supersedes all the negotiations or
24   stipulations concerning its matter which preceded or accompanied
     the execution of the instrument.”
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           Subsection (a) of CCP § 1856 states that “[t]erms set forth
26   in a writing intended by the parties as a final expression of
     their agreement with respect to such terms as are included therein
27   may not be contradicted by evidence of any prior agreement or of a
     contemporaneous oral agreement.”
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Case: 01-30923    Doc# 15850   Filed: 10/19/04     Entered: 10/21/04 13:10:04   Page 3
                                        of 12
 1   rules of evidence,”      the parol evidence rule does not exclude
 2   evidence based on its probative value or other reasons ordinarily
 3   requiring exclusion.      Id. at 103.            Under the rule, “‘the act of
 4   executing a written contract . . . supersedes all the negotiations
 5   or stipulations concerning its matter which preceded or
 6   accompanied the execution of the instrument.’”                 Id. (emphasis in
 7   original and citations omitted).             Under the rule, extrinsic
 8   evidence “cannot be admitted to prove what the agreement was, not
 9   for any of the usual reasons for exclusion of evidence, but
10   because as a matter of law the agreement is the writing itself.”
11   Id.   (citation omitted).
12         In other words, extrinsic or parol evidence “is legally
13   irrelevant and cannot support a judgment.”                Id. (citation
14   omitted).    “As a matter of substantive law such evidence cannot
15   serve to create or alter the obligations under the instrument.”
16   Id. (citations omitted) (emphasis added).                 Nonetheless, parol
17   evidence is admissible to establish additional consistent terms of
18   a contract “if the written contract is not the complete and final
19   embodiment of that agreement.”             Ankeny, 184 B.R. at 70; Cal. Civ.
20   Pro. Code § 1856(b).
21   B.    CCP § 1856(b) Is Inapplicable
22         MID argues that CCP § 1856(b) permits the introduction of
23   parol evidence because its contracts with its customers were not
24   fully integrated and because the purported additional terms are
25   consistent with the written contracts.               The court disagrees on
26   both points.    The contracts at issue are fully integrated;                  even
27   if they were not, the additional terms (in particular, that the
28   customers intended to assign negative CTC claims to MID) are

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Case: 01-30923   Doc# 15850   Filed: 10/19/04     Entered: 10/21/04 13:10:04   Page 4
                                       of 12
 1   inconsistent with the contracts.
 2        As the court noted in its August 16 order, the contracts
 3   between MID and its customers do not contain integration clauses.
 4   The exclusion of such a clause, however, does not necessarily mean
 5   that the contract is not “a complete and exclusive statement of
 6   the terms of the agreement” under CCP § 1856(b).                  See Sicor Ltd.
 7   v. Cetus Corp., 51 F.3d 848, 859 (9th Cir. 1995) (“the parties’
 8   inclusion of an integration clause in the written contract is but
 9   one factor in” a determination of whether a contract is fully
10   integrated);    Software Design and Application, Ltd. v. Price
11   Waterhouse, LLP, 49 Cal.App.4th 464, 470, 57 Cal.Rptr.2d 36, 39
12   (1996) (“Here, although there is no ‘integration’ clause in the
13   engagement letters, they are nonetheless complete.”).
14        Rather, in determining whether a contract is integrated (and
15   thus a “complete and exclusive statement of the terms of the
16   agreement”), the court should consider the factors set forth in
17   Ankeny, 184 B.R. at 70-71.        “In determining whether the contract
18   is integrated, the court should consider: (1) whether the written
19   agreement appears to state a complete agreement; (2) whether the
20   alleged oral agreement directly contradicts the writing; (3)
21   whether the oral agreement might naturally be made as a separate
22   agreement; and (4) whether a jury might be misled by the
23   introduction of the offered parol evidence.”                Id.
24        Here the contracts at issue constitute complete agreements
25   because they fully describe the MID-customer relationship.                    The
26   contracts describe the electric service to be provided by MID, the
27   date of commencement of services, the rate schedule, the
28   application of CTC exemptions, rights-of-way and easements,

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Case: 01-30923   Doc# 15850   Filed: 10/19/04     Entered: 10/21/04 13:10:04   Page 5
                                       of 12
 1   ownership of facilities, assignments, and even a disclaimer of
 2   certain warranties.      The contracts therefore do “appear[] to state
 3   a complete agreement.”       Id.
 4        In order to attract customers of Debtor who would otherwise
 5   have to pay CTCs to Debtor even after discontinuing service with
 6   Debtor, MID “agree[d] to bear responsibility for any CTC which
 7   [the customer] may owe to [Debtor], accruing during the period
 8   beginning at the commencement of service hereunder, through
 9   December 31, 1998, arising out of and directly attributable to
10   [the customer’s] receipt of electric service pursuant to this
11   Agreement.”    See, e.g., the Agreement of Electrical Service dated
12   August 28, 1998, between MID and California Freight Sales.                    In
13   other words, MID offered an incentive to attract its potential
14   customers, but did not provide in its contract with them that it
15   would be entitled to recover any negative CTCs to which that
16   customer could potentially have a claim.               Such a provision would
17   have been inconsistent with the purpose of the contract:                    it could
18   have served as a disincentive for customers to switch from Debtor
19   since it would have eliminated any right of the customer to
20   recover on such a claim against Debtor.               Therefore, the extrinsic
21   evidence that MID wishes to introduce -- declarations from
22   customers stating that they intended to assign such rights in the
23   contracts -- is inconsistent with the contracts and the purpose of
24   the contracts.6
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          6
26         Such declarations, however, would not be inconsistent with
     the argument that the clause operates as an indemnification
27   agreement under which MID could defend its customers against any
     claims asserted by Debtor for CTCs, including the assertion of any
28   offsets available by virtue of negative CTCs. To assert such

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Case: 01-30923   Doc# 15850   Filed: 10/19/04     Entered: 10/21/04 13:10:04   Page 6
                                       of 12
 1        The second factor in Ankeny (whether the alleged agreement
 2   directly contradicts the writing) favors the conclusion that the
 3   contracts at issue were integrated.              Id.    In addition, it is not
 4   reasonable to presume that MID and its customers would have made a
 5   separate contract assigning negative CTCs to MID;                  such an
 6   agreement, if indeed intended, would have naturally been
 7   incorporated into the contracts.             Thus, the third factor of Ankeny
 8   (whether the purported agreement might naturally be made as a
 9   separate agreement) supports a finding that the contracts were
10   fully integrated.    Id.
11        The fourth factor -- whether a jury might be misled by
12   introduction of the offered parol evidence -- is irrelevant here
13   as the court is the fact-finder.             Even if that factor weighs in
14   favor of MID, the other factors -- taken in their totality --
15   support the conclusion that the contract is fully integrated.                      CCP
16   § 1856(b) is thus inapplicable here.
17        Even if the contracts were not fully integrated, the
18   additional terms which MID seeks to prove via parol evidence are
19   not consistent with the contracts, for the reasons discussed
20   above.   CCP § 1856(b) therefore does not protect the extrinsic
21   evidence from the parol evidence rule.
22   B.   Sections 1856 (e) and (g) are Inapplicable
23        MID seeks to shield its proffered extrinsic evidence from the
24   parol evidence rule by arguing that the contracts are ambiguous or
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26   defenses, however, MID would have to be actually defending such a
     claim. It cannot assert an affirmative claim for negative CTCs
27   otherwise, because to do so would be inconsistent with the terms
     of the agreements with its customers.
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Case: 01-30923   Doc# 15850   Filed: 10/19/04     Entered: 10/21/04 13:10:04   Page 7
                                       of 12
 1   are subject to reformation because of mutual mistake, thereby
 2   bringing subsections (e) and (g) of CCP § 1856 into play.
 3   Subsection (e) provides that where “a mistake or imperfection of
 4   the writing is put in issue by the pleadings, this section does
 5   not exclude evidence relevant to that issue.”                  Subsection (g)
 6   provides that parol evidence is admissible “to explain an
 7   extrinsic ambiguity or otherwise interpret the terms of the
 8   agreement, or to establish illegality or fraud.”                 MID’s arguments
 9   are not persuasive.
10        As the court stated in its August 16 order, the contracts
11   between MID and its customers are not ambiguous.                 MID contends
12   that the court has erred in concluding that the contracts are
13   unambiguous without first considering the proffered extrinsic
14   evidence purportedly demonstrating that its customers “understood
15   that MID would also be entitled to recover any negative CTC[s].”
16   MID’s Supplemental Memorandum at 2:1-2.               In particular, the
17   evidence which MID seeks to introduce
18        ... consists of testimony of representatives of both MID and
          its customers attesting to the fact that the parties to the
19        [contracts] intended to, and did. convey to MID whatever
          rights, obligations, claims and duties existed between
20        customers and [Debtor] with respect to CTC[s], whether
          negative or positive. That is, the testimony will support
21        MID’s contention that in those customer agreements, both MID
          and the customers intended to require MID to protect
22        customers from CTC claims by [Debtor], and that in the
          process, the parties intended that MID would have the benefit
23        of all defenses and offsets that might exist as against those
          claims, and even affirmative recoveries of negative CTC
24        claims against [Debtor], if appropriate, as a logical
          outgrowth of MID’s prosecution of defenses and offsets.
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     Id. at 2:16-24 (emphasis added).
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          MID notes in its supplemental memorandum that this court
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     should engage in a two-step process in determining whether
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Case: 01-30923   Doc# 15850   Filed: 10/19/04     Entered: 10/21/04 13:10:04   Page 8
                                       of 12
 1   ambiguities exist:       the court should “provisionally receive[]
 2   (without actually admitting) all credible evidence concerning the
 3   parties’ intentions to determine [whether an ambiguity exists].”
 4   Winet v. Price, 4 Cal.App.4th 1159, 1165, 6 Cal.Rptr.2d 554, 557
 5   (1992).     Therefore, for the purposes of this memorandum decision,
 6   the court will assume that the proffered evidence will indeed
 7   indicate that the parties intended for MID to receive the
 8   customers’ rights (if any) to recover negative CTCs from Debtor.
 9   The court will further assume that such evidence is credible.
10   Even taking into account this proffered evidence, however, the
11   court concludes that the contracts are not ambiguous.
12        MID has not pointed to any actual language in the contract
13   which is ambiguous or susceptible to the interpretation that the
14   negative CTCs were assigned to MID; rather, it is attempting to
15   add terms to a contract containing unambiguous language and terms.
16   Because the language of the contract is not “reasonably
17   susceptible” to the interpretation urged by MID, the extrinsic
18   evidence is inadmissible.        Id.
19        In any event, even if the contract were ambiguous, evidence
20   consisting of testimony of what the parties subjectively intended
21   and understood (as opposed to contemporaneous extrinsic evidence
22   reflecting such intent) is not competent evidence.                  “[E]vidence of
23   the undisclosed subjective intent of the parties is irrelevant to
24   determining the meaning of contractual language.”                  Id. at 1166 n.3
25   and 558 n.3.     “It is the outward expression of the agreement,
26   rather than a party’s unexpressed intention, which the court will
27   enforce.”    Id. at 1166 and 558 (emphasis added).                 The proffered
28   unstated intent of the customers simply is irrelevant.                    Therefore,

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Case: 01-30923   Doc# 15850   Filed: 10/19/04     Entered: 10/21/04 13:10:04   Page 9
                                       of 12
 1   CCP § 1856(g) is inapplicable and does not protect MID from the
 2   application of the parol evidence rule.
 3        MID also contends that, pursuant to CCP § 1856(e),
 4   introduction of parol evidence is necessary to reform the contract
 5   to correct a mutual mistake between it and its customers.
 6   According to MID, the omission of a clause in which the customers
 7   conveyed their negative CTC rights to MID “was nothing more than a
 8   mutual error that can now be remedied by review of the parol
 9   evidence and reformation of the agreement.”                 MID’s Supplemental
10   Memorandum at 7:24-26.       The court will not utilize the parol
11   evidence rule to reform a contract when the affected contracting
12   parties (including the customers) are not parties to this
13   contested matter.        More importantly, this contested matter is not
14   an action to reform the contract; the purported mutual mistake has
15   not been placed at issue in a complaint or other pleading in an
16   action (for reformation or otherwise) between the contracting
17   parties.    As such, CCP § 1856(e) is inapplicable.
18                                  II.     CONCLUSION
19        For the reasons set forth in this memorandum decision and
20   this court’s August 16 order, the court will apply the parol
21   evidence rule and not consider the extrinsic evidence which MID
22   seeks to admit.     The court will therefore grant Debtor’s request
23   to disallow the negative CTC components of MID’s claims because
24   MID lacks standing to pursue such claims.                MID is asserting claims
25   which belong (if at all) to its customers, and the contracts
26   between MID and its customers do not assign such claims to MID.
27        Counsel for Debtor should submit an order disallowing that
28   aspect of MID’s claim for the reasons stated in both this

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Case: 01-30923   Doc# 15850   Filed: 10/19/04     Entered: 10/21/04 13:10:04   Page 10
                                        of 12
 1   memorandum decision and the August 16 order for further briefing.
 2   Counsel should comply with B.L.R. 9021-1 and 9022-1 when
 3   submitting the order.       In addition, counsel for Debtor and MID
 4   should also advise the court’s courtroom deputy whether the
 5   hearing scheduled for November 8, 2004, should remain on calendar.
 6                        **END OF MEMORANDUM DECISION**
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Case: 01-30923   Doc# 15850   Filed: 10/19/04     Entered: 10/21/04 13:10:04   Page 11
                                        of 12
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Case: 01-30923   Doc# 15850   Filed: 10/19/04     Entered: 10/21/04 13:10:04   Page 12
                                        of 12
